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                      In re: Channel Technologies Group, LLC
      Attachment to UST Quarterly Report – quarter ending June 30, 2022


       Corporate Recovery Associates, LLC, the liquidating trustee (“Liquidating
 Trustee”), was appointed under the confirmed Chapter 11 Liquidating Plan
 (“Plan”) [Docket No. 426] of Debtor Channel Technologies Group, LLC
 (“Debtor”) to serve as trustee of the liquidating trust (“Liquidating Trust”)
 established under the Plan. The Liquidating Trust was organized and established
 to liquidate the assets of the Debtor’s estate for the benefit of the holders of all
 Allowed General Unsecured Claims against the Debtor. Pursuant to the terms of
 the Plan, the assets of the Debtor’s estate, including but not limited to potential
 causes of action held by the Debtor’s estate, were transferred to the Liquidating
 Trust on the Effective Date.
       The Debtor has made all distributions with respect to allowed administrative
 claims required by the Plan. The Plan is a “pot” plan and, accordingly, there is no
 fixed payment to holders of Allowed General Unsecured Claims. The Liquidating
 Trustee has been actively engaged in prosecuting estate Litigation Claims to
 attempt to obtain recovery for the benefit of the Debtor’s creditors. Throughout
 2021, the last remaining Litigation Claim continued to be actively litigated, and the
 claim was ultimately resolved and liquidated via settlement. Now, the Liquidating
 Trustee is further investigating claims asserted against the Debtor’s estate and will
 negotiate settlement with holders of disputed claims and/or file additional
 objections to disputed claims, if appropriate.
       After over three years of litigation, and with the recent resolution of the final
 Litigation Claim, all known assets of the Debtor have been liquidated. Based on
 the successful resolution of the various Litigation Claims, the Liquidating Trustee

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 anticipates that there will be some distribution to the Debtor’s unsecured creditors.
 The Liquidating Trustee is now evaluating whether, and to what extent, there
 would be a tangible benefit to creditors of further action regarding disputed claims
 and formal claims litigation that would outweigh the costs incurred in processing
 such objections.     Given the complexity of material outstanding claims, the
 investigation and analysis phase preliminary to filing any objections is likely to
 require dedication of significant time and resources. The Liquidating Trustee is
 unable to provide an estimate, at this time, as to the date by which the Plan will be
 fully consummated and by which the Liquidating Trustee will be able to seek a
 final decree closing this case.
 __________________________________________________________________


 Continuation of signature block of Name of Authorized Party (first page of report):


 * Corporate Recovery Associates, LLC, solely in its capacity as Liquidating
 Trustee
 Continuation of signature block for Printed Name of Responsible Party (last page
 of report):
 Richard Feferman, acting solely in his capacity as Senior Managing
 Director/Principal of Liquidating Trustee; and Corporate Recovery Associates,
 LLC, solely in its capacity as Liquidating Trustee.




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